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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE



  LAURA WILLIS LUHN, An individual Los
  Angeles, CA
                                       Plaintiff,
                    V.

  SHOWTIME NETWORKS, LLC., A Delaware
  Corporation
  Registered Agent Listed As:
  Corporation Service Company
  251 Little Falls Drive
  Wilmington, DE 19808
  and
                                                             CIVIL ACTION NO. 19-CV-00618 LPS
   BLUMHOUSE PRODUCTIONS. LLC, A
   Delaware Limited Liability Company
   Registered Agent Listed As:
   Corporation Service Company
   251 Little Falls Drive
   Wilmington. DE 19808
   and
   GABRIEL SHERMAN, An individual
   3537 78th St. #41
   Jackson Heights, NY 11372
                                        Defendants.

         STIPULATION AND [PROPOSED] ORDER REQUESTING DlSMISAL OF
                  PLAINTIFF'S COMPLAINT WITH PREJUDICE




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          It is hereby stipulated by and between the parties hereto, subject to the approval of

  the Court, that Plaintiff LAURA WILLIS LUHN requests dismissal with prejudice of her

  Complaint in its entirety.


                                                      Respectfully submitted,



  Of Counsel:
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  jonathansegal@dwt.com                               BLUMHOUSE TV, LLC (erroneously
   susanseager@dwt.com                                sued as "Blumhouse Productions,
                                                      LLC"), and GABRIEL SHERMAN




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   Dated: June / 12019                                 Dated: June 't;J_ 2019

   SO ORDERED


     Date                                                  Hon. Leonard P. Stark



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